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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 17-cv-0844-WJM-SKC

   BRANDON FRESQUEZ,

          Plaintiff,

   v.

   BNSF RAILWAY CO.,

          Defendant.


                                      FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          THIS MATTER was tried from February 11, 2019 through February 19, 2019,

   before an empaneled jury of ten, Senior United States District Judge Wiley Y. Daniel

   presiding. The case was submitted to the jury on February 19, 2019, on Plaintiff’s claim

   of retaliation in violation of the Federal Railroad Safety Act, 49 U.S.C. § 20109.

          The jury rendered a unanimous verdict.

          Pursuant to and in accordance with the jury’s verdict for the Plaintiff (ECF No.

   152), the Order Granting in Part and Denying In Part, and Taking Under Advisement in

   Part, Plaintiff’s Motion for Back Pay and Front Pay (ECF No. 193), and the Order

   Granting in Part Remainder of Plaintiff’s Motion for Back Pay and Directing Entry of

   Judgment (ECF No. 201), it is therefore
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         ORDERED that judgment is entered in favor of Plaintiff, Brandon Fresquez, and

   against Defendant, BNSF Railway Co., in the amount of $1,746,173.00, comprised of

   $696,173.00 for back pay, front pay, and prejudgment interest; $800,000.00, in

   compensatory damages; and $250,000.00 in punitive damages. It is further

         ORDERED that post-judgment interest shall accrue at the current rate of 1.55

   percent, as calculated pursuant to 28 U.S.C. § 1961, from the date of entry of judgment.

         The Court will resolve the pending Motion for Fees and Costs (ECF No. 165) by

   way of separate Order. This case will be closed.

         DATED at Denver, Colorado this 17th day of December, 2019.

                                                  FOR THE COURT:

                                                  JEFFREY P. COLWELL, CLERK

                                                  By: s/Anna Frank
                                                  Anna Frank, Deputy Clerk
